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 7

 8                                      UNITED STATES DISTRICT COURT

 9                       EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION

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12     WAL-MART STORES, INC., a Delaware                    Case No. F-04-5278 OWW/DLB
       corporation and Wal-Mart Real Estate
13     Business Trust, a Delaware statutory trust,          STIPULATION AND ORDER
                                                            CONTINUING PLAINTIFFS’ HEARING
14                             Plaintiff,                   ON MOTION TO COMPEL JOHN
                                                            HANDLEY’S COMPLIANCE WITH
               v.
15                                                          SUBPOENA DUCES TECUM
       CITY OF TURLOCK, TURLOCK CITY
16     COUNCIL, and DOES 1 through 10,                      Date:     September 16, 2005
       inclusive.                                           Time:     9:00 a.m.
17                                                          Place:    Courtroom 5
                               Defendants.
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20             IT IS HEREBY STIPULATED, by and between Real Party-in-Interest John Handley and
21    Plaintiffs Wal-Mart Stores, Inc. and Wal-Mart Real Estate Business Trust (collectively “Wal-Mart”),
22    by through their respective counsel of record as follows:
23             WHEREAS the parties agree to continue Plaintiffs’ Hearing on Motion to Compel John
24    Handley’s Compliance with Subpoena Duces Tecum from September 16, 2005 to September 23,
25    2005 at 9:00 a.m. in Courtroom 5.
26             WHEREAS Real Party-in-Interest John Handley agrees, should Wal-Mart’s motion be
27    successful, he will not to seek relief by a motion for reconsideration of the Magistrate Judge’s
28    Decision.
      StipulationOrderContinueMTC-WPD
                              STIPULATION AND ORD ER CONTINUING PLAINTIFFS’ MOTION TO COM PEL
                                                      -1-
     Case 1:04-cv-05278-OWW-DLB Document 138 Filed 09/07/05 Page 2 of 2


 1             WHEREAS Real Party-in-Interest John Handley agrees, should Wal-Mart’s motion be
 2    successful, to promptly produce all documents as described in the Court order.
 3             WHEREAS the filing date for the opposition and reply shall be based on the September 23,
 4    2005 hearing date.
 5

 6    Dated: September 6, 2005                      COOK BROWN, LLP
 7

 8
                                                    By:    /s/ Ronald E. Hofsdal, Esq.
 9                                                           RONALD E. HOFSDAL, ESQ.
                                                             Attorneys for JOHN HANDLEY
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11
      Dated: September 2, 2005                       SAGASER, JONES & HAHESY
12

13
                                                     By:    /s/ John P. Kinsey, Esq.
14                                                          JOHN P. KINSEY, ESQ.
                                                            Attorneys for Plaintiffs WAL-MART
15                                                          STORES, INC. d WAL-MART Real
                                                            Estate Business Trust
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17                    IT IS SO ORDERED.

18              Dated:     September 6, 2005                 /s/ Dennis L. Beck
      3b142a                                           UNITED STATES MAGISTRATE JUDGE
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      StipulationOrderContinueMTC-WPD
                              STIPULATION AND ORD ER CONTINUING PLAINTIFFS’ MOTION TO COM PEL
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